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 5                            UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
 7
 8    VIRGINIA DUNCAN, et al.,                          Case No.: 17-cv-01017-BEN-JLB
 9                                    Plaintiffs,
                                                        AMENDED SCHEDULING ORDER
10    v.
11    XAVIER BECERRA, in his official
      capacity as Attorney General of the State
12
      of California,
13                                   Defendant.         [ECF Nos. 38, 52]
14
15         The Court hereby DENIES the Joint Motion of the Parties to Set Aside Upcoming
16   Pretrial Deadlines Pending Resolution of Plaintiffs’ Motion for Summary Judgment (ECF
17   No. 52). However, good cause appearing, IT IS HEREBY ORDERED:
18         1.     The deadline for counsel to file their Memoranda of Contentions of Fact and
19   Law and take any other action required by Civil Local Rule 16.1(f)(2) is RESET from May
20   4, 2018 to August 3, 2018.
21         2.     The deadline for counsel to comply with the pre-trial disclosure requirements
22   of Federal Rule of Civil Procedure 26(a)(3) is RESET from May 4, 2018 to August 10,
23   2018. Failure to comply with these disclosure requirements could result in evidence
24   preclusion or other sanctions under Federal Rule of Civil Procedure 37.
25         3.     The deadline for counsel to meet and take the action required by Civil Local
26   Rule 16.1(f)(4) is RESET from May 11, 2018 to August 17, 2018. At this meeting,
27   counsel shall discuss and attempt to enter into stipulations and agreements resulting in
28   simplification of the triable issues. Counsel shall exchange copies and/or display all

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 1   exhibits other than those to be used for impeachment. The exhibits shall be prepared in
 2   accordance with Civil Local Rule 16.1(f)(4)(c). Counsel shall note any objections they
 3   have to any other parties’ Pretrial Disclosures under Federal Rule of Civil Procedure
 4   26(a)(3). Counsel shall cooperate in the preparation of the proposed pretrial conference
 5   order.
 6            4.   Counsel for plaintiffs will be responsible for preparing the pretrial order and
 7   arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f). The deadline for
 8   plaintiffs’ counsel to provide opposing counsel with the proposed pretrial order for review
 9   and approval is RESET from May 18, 2018 to August 24, 2018. Opposing counsel must
10   communicate promptly with plaintiffs’ attorney concerning any objections to form or
11   content of the pretrial order, and both parties shall attempt promptly to resolve their
12   differences, if any, concerning the order.
13            5.   The deadline for the Proposed Final Pretrial Conference Order, including
14   objections to any other parties’ Federal Rule of Civil Procedure 26(a)(3) Pretrial
15   Disclosures to be prepared, served and lodged with the assigned district judge is RESET
16   from May 25, 2018 to August 31, 2018, and shall be in the form prescribed in and comply
17   with Civil Local Rule 16.1(f)(6).
18            6.   The final Pretrial Conference is RESET and scheduled on the calendar of the
19   Honorable Roger T. Benitez on September 10, 2018 at 10:30 AM.
20            IT IS SO ORDERED.
21   Dated: April 24, 2018
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